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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
________________________________________________
MICHAEL BUSH; LINDA TAYLOR;                      )
LISA TIERNAN; KATE HENDERSON;                    )
ROBERT EGRI; KATALIN EGRI;                       )
ANITA LOPEZ; MONICA GRANFIELD;                  )
ANN LINSEY HURLEY; IAN SAMPSON;                 )
SUSAN PROVENZANO; and JOSEPH PROVENZANO, )
      pro se Plaintiffs,                        )
                                                )
VS.                                             ) C.A. NO. 1:21-cv-11794-ADB
                                                )
LINDA FANTASIA; MARTHA FEENEY-PATTEN;           )
ANTHONY MARIANO; CATHERINE GALLIGAN;            )
JEAN JASAITIS BARRY; PATRICK COLLINS;           )
DAVID ERICKSON; TIMOTHY GODDARD; and            )
TOWN OF CARLISLE,                               )
      Defendants.                                )

                       MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANTS’ MOTION TO STAY DISCOVERY

       This is an action brought by twelve pro se plaintiffs against the Town of Carlisle and eight

Town of Carlisle officials. The suit arises out of a face mask mandate adopted by the Carlisle

Board of Health (“BOH”) on August 26, 2021, in response to “the recent increase in positive

COVID-19 cases in Carlisle and throughout Middlesex County, including break-through cases

among those who have been fully vaccinated ….” (Plaintiffs’ Complaint, Ex. 5, ECF Doc. No. 1-

2, at 7). The mandate required face masks to be worn in “all indoor public spaces, or private spaces

open to the public within the Town of Carlisle ….” (Id.) On February 23, 2022, the BOH lifted the

mask mandate and replaced it with a mask advisory in accordance with recommendations from the

Centers for Disease Control and Prevention (“CDC”) and the Massachusetts Department of Public

Health (“DPH”). (ECF Doc. 28).

       On January 5, 2022, defendants filed a Motion to Dismiss Plaintiffs’ Complaint Under Rule

12(b)(6). (ECF Doc. No. 21). While the Motion to Dismiss remains pending, plaintiffs wish to
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conduct discovery in the form of written Interrogatories, Requests for the Production of

Documents and depositions. Defendants (many of whom are unpaid municipal volunteers) 1 will

necessarily incur significant time and expense in responding to plaintiffs’ discovery requests, some

or all of which may be wholly unnecessary depending on the outcome of defendants’ Motion to

Dismiss. Good cause exists to postpone all discovery in this matter pending the outcome of

defendants’ Motion to Dismiss. This Memorandum of Law is submitted in support of defendants’

Motion to Stay.

                                       I. BACKGROUND

       Plaintiffs bring this action against the Town of Carlisle, the former Town Administrator,

the Health Agent, the Library Director and five BOH members. In their Complaint, pro se plaintiffs

claim (among other things) that the mask mandate adopted by the BOH discriminated against them

in violation of Title II of the Americans with Disabilities Act (“ADA”) and M.G.L. c. 272, § 98,

and violated their rights to equal protection as guaranteed under the Fourteenth Amendment. 42

U.S.C. § 1983. On January 5, 2022, the Carlisle defendants moved to dismiss all nine Counts of

plaintiffs’ Complaint under Rule 12(b)(6) for failure to state claims upon which relief can be

granted. (ECF Doc. Nos. 21, 21-1 & 22). Plaintiffs filed an Opposition to defendants’ Motion to

Dismiss (ECF Doc. Nos. 23 & 23-1 – 23-8) and, by leave of Court, defendants filed a Reply Brief.

(ECF Doc. No. 26).

       By letter dated March 11, 2022, defendants advised the Court that the challenged mask

mandate was lifted by the Carlisle BOH and replaced with a mask advisory. (ECF Doc. No. 28). 2

On March 30, 2022, plaintiffs submitted to the Court a Letter Addressing Mootness Doctrine



1 BOH members receive no compensation or stipend from the Town for their municipal service.
2 On March 14, 2022, the Court denied plaintiffs’ Motion to Strike defendants’ letter. (ECF Doc.
Nos. 29 & 30).
                                                 2
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together with several Exhibits. (Doc. Nos. 31 & 31-1 – 31-4). On April 13, 2022, defendants filed

a Response to Plaintiffs’ Letter Addressing Mootness Doctrine together with one Exhibit. (ECF

Doc. Nos. 32 & 32-1).

       Although no scheduling conference has yet been scheduled or held, and no scheduling

order has yet been issued pursuant to Fed.R.Civ.P. 16(d), pro se plaintiffs served their initial

disclosures on May 6, 2022. Thereafter, the parties held a Rule 26(f) conference on May 17, 2022,

during which defendants agreed to serve initial disclosures pursuant to Fed.R.Civ.P. 26(a)(1) and

Local Rule 26.2(A), which they did on June 3, 2022.

       On May 6, 2022, plaintiffs served First Interrogatories to the Town of Carlisle BOH

members and Director of the Gleason Public Library, Martha Feeney-Patten. During a subsequent

telephone conference with pro se plaintiffs, Michael Bush and Robert Egri, defense counsel

suggested the parties agree to stay all discovery pending the outcome of defendants’ Motion to

Dismiss. Pro so plaintiffs did not agree to defense counsel’s suggestion. Defense counsel

volunteered, nonetheless, to respond to plaintiffs’ First Interrogatories, but made no

representations regarding any future discovery requests. On June 22, 2022, plaintiffs served a

Request for the Production of Documents on defendants, as well as First Interrogatories on the

Town of Carlisle and Second Interrogatories to the Town of Carlisle BOH members.

       On August 1, 2022, the BOH served Answers to plaintiffs’ First Interrogatories on behalf

of the Board alone signed by Tony Mariano, as Chairman of the BOH, together with 197 pages of

responsive documents. Plaintiffs maintain these Answers are insufficient and that each BOH

member must respond to the First Interrogatories individually.

       During a Local Rule 7.1 conference held on August 16, 2022, pro se plaintiffs, Michael

Bush, Robert Egri and Susan Provenzano, and defense counsel discussed: (1) plaintiffs’ proposed



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Motion to Compel Discovery; and (2) defendants’ proposed Motion to Stay Discovery pending

the outcome of defendants’ Motion to Dismiss. During the conference, pro so plaintiff Michael

Bush advised defense counsel of plaintiffs’ intended plans to notice and conduct two-to-three

depositions upon receipt of defendants’ responses to plaintiffs’ written discovery requests. To date,

defendants have propounded no discovery to pro se plaintiffs.

                                         II. ARGUMENT

       GOOD CAUSE EXISTS TO STAY ALL DISCOVERY PENDING THE OUTCOME
       OF DEFENDANTS’ MOTION TO DISMISS.

       “It is black letter law that ‘federal courts possess the inherent power to stay proceedings

for prudential reasons.’” D.R. v. Bigda, 2021 WL 1080244, at *1 (D. Mass. March 18, 2021)

(quoting Marquis v. FDIC, 965 F.2d 1148, 1154-55 (1st Cir. 1992)). See Zavatsky v. O’Brien, 902

F. Supp. 2d 135, 147 (D. Mass. 2012) (“A district court has the inherent discretionary authority to

stay a civil action if the interests of justice so require.”) (citing Microfinancial, Inc. v. Premier

Holidays Intern., Inc., 385 F.3d 72, 77-78 (1st Cir. 2004)). “Of course, stays cannot be cavalierly

dispensed: there must be good cause for their issuance; they must be reasonable in duration; and

the court must ensure competing equities are weighed and balanced.” Marquis, at 1155.

       In addition to their inherent powers, district courts also have the authority to issue

protective orders regarding the timing of discovery.

       A party or any person … from whom discovery is sought may move for a protective order
       in the court where the action is pending. …. The court may, for good cause, issue an order
       to protect a party or person from … undue burden or expense, including …:

       (B) specifying terms, including time and place or the allocation of expenses, for the
       disclosure of discovery; ….




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Fed.R.Civ.P. 26(c)(1). See Complaint of Akropan Shipping Corp., 1990 WL 16097, at *3

(S.D.N.Y. Feb. 14, 1990) (granting protective order under Rule 26(c)(1)(B) to stay discovery

pending outcome of dispositive motion).

       Courts have repeatedly held that a pending motion to dismiss serves as good cause to stay

discovery. See Kolley v. Adult Protective Servs., 725 F.3d 581, 587 (6th Cir. 2013) (“A plaintiff

is not entitled to discovery before a motion to dismiss …”); Chavous v. District of Columbia Fin.

Responsibility & Mgmt. Ass. Auth., 201 F.R.D. 1 (D.D.C. 2001) (“It is settled that entry of an

order staying discovery pending determination of dispositive motions is an appropriate exercise of

the court's discretion …”) (citations omitted); Hillside Plastics, Inc. v. Dominion & Grimm U.S.A.,

Inc., 2018 WL 3727365, at *2 (D. Mass. Aug. 6, 2018) (“A pending dispositive motion constitutes

good cause for a stay of discovery.”); Dicenzo v. Massachusetts Dep’t of Correction, 2016 WL

158505, at *2 (D. Mass. Jan. 13, 2016) (finding good cause to stay discovery pending resolution

of parties’ dispositive motions); Triement v. Washington County, 2013 WL 6729260, at *1 (D.

Minn. Dec. 19, 2013) (“before any litigant (including a pro se litigant) is entitled to take discovery,

the plaintiff must first plead a plausible claim for relief …”) (emphasis in original).

       In Steward Health Care System LLC v. Southcoast Health System, Inc., 2016 WL

11004353 (D. Mass. June 15, 2016), Magistrate Boal granted a motion to stay discovery under

Rule 26(c)(1) where the defendant had moved to dismiss all counts of plaintiff’s complaint. “[I]t

makes little sense,” reasoned the Court, “to force either side to go through expensive discovery

where all, or part, of the case may be dismissed.” Id., at *2. In Channing Bete Co., Inc. v.

Greenberg, 2021 WL 4398510 (D. Mass. Sept. 27, 2021), Magistrate Robertson granted the motion

of a third-party defendant for a protective order to stay discovery pending a ruling on its motion to

dismiss the third-party complaint. In opposition to the motion, the third-party plaintiff argued he



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would be harmed by a delay in commencing discovery as one of his counts may survive dismissal.

The Court was not persuaded. “[T]he possibility that a single claim will survive [the motion to

dismiss] does not preclude granting a motion to stay.” Id., at *2.

        Here, pro se plaintiffs have served four sets of Interrogatories on defendants, as well as a

Request for Production of Documents. Further, upon the completion of written discovery, plaintiffs

intend to depose at least two-to-three defendants before this Court has even determined whether

their Complaint states claims against such defendants upon which relief can be granted. Preparing

Answers to plaintiffs’ Interrogatories and gathering, identifying and producing documents

responsive to plaintiffs’ Request for Production will be time-consuming and expensive. Preparing

for and attending two-to-three depositions will also require defendants to spend additional time

and effort, and incur additional expenses, including attorneys’ fees.

        Defendants’ Motion to Dismiss comprehensively addresses all ten Counts of plaintiffs’

Complaint. Defendants’ Motion to Dismiss also stands a favorable chance of success given (in

particular) the recent decision issued by Judge Indira Talwani in a companion mask mandate case:

Michael Bush v. Acton-Boxborough Reg’l Sch. Dist., et al., C.A. No. 1:21-cv-12039-IT. 3 By

Memorandum & Order dated August 9, 2022, Judge Talwani granted defendants’ Rule 12(b)(6)

motion on all counts in an action seeking relief against the School District and its Superintendent

under Title II of the ADA and 42 U.S.C. §§ 1983 & 1985 for imposing a mask mandate on

participants in an adult volleyball league during the COVID-19 pandemic. 4 Guided by the legal



3 Plaintiffin the Acton-Boxborough case is the same Michael Bush as the lead pro se plaintiff in
this action. Mr. Bush is also a pro se plaintiff in a third COVID-19 mask mandate case: Michael
Bush v. The Wang Center for the Performing Arts, Inc. d/b/a The Boch Center, C.A. No. 1:22-cv-
10473-GAO. The Wang Center’s Motion to Dismiss plaintiff’s Complaint was argued before
Magistrate Boal on August 10, 2022 and remains under advisement.
4 A copy of Judge Talwani’s Memorandum & Order issued in Bush v. Acton-Boxborough Reg’l
Sch. Dist. is attached hereto as Exhibit 1.
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analysis set forth above, this Court should stay all discovery in this matter pending the outcome of

defendants’ Motion to Dismiss. A temporary stay would save the defendants from incurring

potentially unnecessary costs and expenses in responding to plaintiffs’ discovery. A stay would

also relieve defendants (including unpaid BOH members) from expending the time necessary to

prepare discovery responses and testify at depositions. Finally, a temporary stay will not prejudice

plaintiffs as the challenged mask mandate was lifted by the BOH nearly six months ago – on

February 23, 2022.

                                      III. CONCLUSION

       Good cause exists to stay all discovery in this matter pending an outcome on defendants’

Motion to Dismiss plaintiffs’ Complaint. This Court may grant such relief under its inherent

powers to stay proceedings for prudential reasons and its authority to issue protective orders under

Rule 26(c)(1). For the reasons set forth above, the defendants, Linda Fantasia, Martha Feeney-

Patten, Anthony Mariano, Catherine Galligan, Jean Jasaitis Barry, Patrick Collins, David Erickson,

Timothy Goddard and Town of Carlisle, hereby request that this Honorable Court allow their

Motion to Stay Discovery pending the outcome of defendants’ Motion to Dismiss.




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                              Respectfully submitted,

                              The Defendants,

                              LINDA FANTASIA, MARTHA FEENEY-PATTEN,
                              ANTHONY MARIANO, CATHERINE GALLIGAN,
                              JEAN JASAITIS BARRY, PATRICK COLLINS,
                              DAVID ERICKSON, TIMOTHY GODDARD and
                              TOWN OF CARLISLE,

                              By their Attorneys,

                              PIERCE DAVIS & PERRITANO LLP

                              /s/ John J. Davis
                              ______________________________________
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Dated: August 19, 2022




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and that a paper copy shall be served upon those indicated as non-registered participants on
August 19, 2022 as follows:

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                                   /s/ John J. Davis
                                   _________________________
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